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 1
                                    UNITED STATES DISTRICT COURT
 2
                                           DISTRICT OF NEVADA
 3
                                                    ***
 4

 5     UNITED STATES OF AMERICA,                                     2:12-cr-00232--PAL

 6                           Plaintiff,
                                                                ORDER TO EXTEND SELF-
 7     vs.                                                        SURRENDER DATE

 8     EDWIN ROSALES,

 9                           Defendant..

10                   Based on the Joint Motion to Extend Self-Surrender Date, and good cause

11    appearing therefore,

12                   IT IS HEREBY ORDERED ADJUDGED AND DECREED that the Motion is

13    GRANTED and the self-surrender date is extended to June 10, 2013 by 12:00 PM.

14                   DATED: April 12 , 2013.

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16                                                 UNITED STATES DISTRICT JUDGE

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